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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                         )   MDL No. 16-2740
PRODUCTS LIABILITY                                  )
LITIGATION                                          )   SECTION: “H” (5)
                                                    )
This document relates to:                           )
Elizabeth Kahn, No. 16-17039                        )


                                 ORDER AND REASONS

         Before the Court is a Motion for Summary Judgment on Warnings
Causation (Doc. 9300). The Court held oral argument on the Motion on March
11, 2020. For the following reasons, the Motion is GRANTED IN PART and
DENIED IN PART.



                                       BACKGROUND

         Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical          companies      that    manufactured   and/or   distributed   a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer or other forms of cancer. Plaintiffs allege
that the drug caused permanent alopecia—in other words, permanent hair
loss. Plaintiffs bring claims of failure to warn, negligent misrepresentation,
fraudulent misrepresentation, and more.
         In the instant Motion, Defendants argue that Plaintiff Elizabeth Kahn
cannot establish the essential element of causation for her claims. Defendants
further argue that Plaintiff cannot prove the elements of her redhibition claim.
Defendants therefore ask the Court to grant summary judgment in their favor.


1   Docetaxel is the generic version of Taxotere.
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                                 LEGAL STANDARD

       Summary judgment is warranted where “there is no genuine dispute as
to any material fact and the movant is entitled to judgment as a matter of
law.” 2 A genuine issue of fact exists only “if the evidence is such that a
reasonable jury could return a verdict for the nonmoving party.” 3 When
considering a summary judgment motion, the Court must view the entire
record in the light most favorable to the non-moving party and indulge all
reasonable inferences in that party’s favor. 4


                               LAW AND ANALYSIS

    I. Failure to Warn Claim
       Defendants argue that even if Plaintiff’s prescribing physician, Dr. Carl
Kardinal, had known of the risk of permanent alopecia associated with
Taxotere, this would not have changed his decision to prescribe Taxotere.
Defendants point to unclear testimony from Dr. Kardinal and interpret him to
say that he would not have prescribed an alternative regimen to Plaintiff
Kahn. Defendants further aver that even if Kahn had been administered a non-
Taxotere regimen, she still may have experienced incomplete hair regrowth as
she did with Taxotere. According to Defendants, Kahn cannot prove that she
would not have suffered permanent hair loss “but for” Taxotere. Lastly,
Defendants argue that because Dr. Kardinal only read the Taxotere label once




2 FED. R. CIV. P. 56.
3 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
4 Crawford v. Formosa Plastics Corp., 234 F.3d 899, 902 (5th Cir. 2000).


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in the late 1990s, a label change would have had no effect on his prescribing
decision for Plaintiff Kahn.
      In response, Plaintiff argues that there are issues of fact rendering
summary judgment inappropriate here. First, Plaintiff points to an issue of
fact regarding whether Dr. Kardinal would have acted differently if Sanofi had
warned of a risk of permanent hair loss from Taxotere. Plaintiff avers that both
she and Dr. Kardinal believed her hair loss would be temporary. Plaintiff
points to another issue of fact regarding how Kahn would have reacted if she
had known of the risk of permanent hair loss. Plaintiff avers that had she
known of the risk, she would have inquired about her options as she did when
she was considering a mastectomy.
      Under Louisiana law, failure to warn claims involving prescription drugs
are subject to the learned intermediary doctrine. 5 Under the doctrine, the
manufacturer of a prescription drug “has no duty to warn the patient, but need
only warn the patient’s physician.” 6 In other words, a manufacturer’s duty
runs only to the physician—the learned intermediary. 7
      The Fifth Circuit has held that there is a two-prong test governing
inadequate warning claims under the Louisiana Products Liability Act (LPLA)
when the learned intermediary doctrine is applicable:
             First, the plaintiff must show that the defendant failed
             to warn (or inadequately warned) the physician of a
             risk associated with the product that was not
             otherwise known to the physician. Second, the plaintiff
             must show that this failure to warn the physician was



5 Grenier v. Med. Eng’g Corp., 99 F. Supp. 2d 759, 765 (W.D. La. 2000) (applying Louisiana
  law), aff’d, 243 F.3d 200 (5th Cir. 2001).
6 Willett v. Baxter Intern., Inc., 929 F.2d 1094, 1098 (5th Cir. 1991).
7 Grenier, 99 F. Supp. 2d at 766.




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              both a cause in fact and the proximate cause of the
              plaintiff’s injury. 8

Regarding the second prong, the law is well established that, to prove
causation, “the plaintiff must show that a proper warning would have changed
the decision of the treating physician, i.e. that but for the inadequate warning,
the treating physician would not have used or prescribed the product.” 9
       As the Court has discussed in prior rulings, the chemotherapy decision-
making process is unique. The Court must consider not only whether an
oncologist would have warned his or her patient of the risk of permanent
alopecia but also how patient choice then would have steered the conversation
and the ultimate prescribing decision.
       This Court finds that there are issues of fact regarding whether a label
change would have affected Dr. Kardinal’s prescribing decision. Although Dr.
Kardinal testified that he only read the label once, his testimony indicates that
he sometimes reviewed or referred back to drug labels. 10 Dr. Kardinal also
demonstrated a general knowledge of drug labels in his testimony, saying he
was unaware of any chemotherapy label that warns of permanent alopecia. 11
He further testified that if the Taxotere label had warned of permanent
alopecia, he would have raised this in his discussion with Kahn. 12
       In addition to this, Dr. Kardinal testified that if a patient told him that
she did not wish to take Taxotere after learning of its risk, Dr. Kardinal would
have discussed other options. 13 He testified that paclitaxel is an adequate

8 Stahl v. Novartis Pharmaceuticals Corp., 283 F.3d 254, 265–66 (5th Cir. 2002) (internal
  citation omitted).
9 Willett, 929 F.2d at 1099. See also Pellegrin v. C.R. Bard, 2018 WL 3046570, at *4 (E.D. La.

  June 20, 2018).
10 Doc. 9300-9 (p. 28–29).
11 Doc. 9422-4 (p. 141).
12 Id. (p. 142).
13 Id. (p. 42–43).




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alternative to Taxotere in terms of its efficacy. 14 Plaintiff Kahn testified that if
she “was told that Taxotere could have caused permanent hair loss, [she] would
have asked what [her] other options were.” 15 Notably, when Kahn was given
options regarding her initial treatment, she chose not to have a mastectomy;
instead, she chose to see if chemotherapy would shrink her tumor, which it did,
thereby allowing her to have a lumpectomy instead. 16 Considering the
evidence, the Court finds that there are fact issues for the jury to decide
regarding how the conversation between Plaintiff and her doctor would have
gone if they had known of Taxotere’s risk.


     II. Redhibition Claim
        Defendants argue that they are entitled to summary judgment on Kahn’s
redhibition claim. Plaintiff does not oppose summary judgment on this claim.
Indeed, the Court finds summary judgment appropriate.
        Article 2520 of the Louisiana Civil Code provides that a defect is
redhibitory if it “renders the thing useless” or renders its use “so inconvenient
that it must be presumed that a buyer would not have bought the thing had he
known of the defect.” 17 If a defect does not render the thing totally useless, it
may still be redhibitory if the defect “diminishes its usefulness or its value so
that it must be presumed that a buyer would still have bought it but for a lesser
price.” 18 To determine whether a defect is redhibitory, a court asks whether a
reasonable person would still have purchased the thing if he had known of the



14 Id.
15 Doc. 9300-7 (p. 302).
16 Id. (p. 158–59).
17 LA. CIV. CODE art. 2520.
18 Id.




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defect. 19 “It is of no moment that the plaintiff buyer who files suit to rescind a
sale testifies that he would not have purchased the thing if he would have
known of the vice.” 20
       Plaintiff Kahn took Taxotere to increase her chances of survival. Given
that she is alive today, Taxotere worked and was far from being “useless.”
Indeed, doctors still prescribe Taxotere today, as this Court noted in its prior
ruling on redhibition claims. 21 Because Taxotere is demonstrably effective and
worked as intended, Plaintiffs cannot establish a redhibitory defect. 22


                                    CONCLUSION

       Accordingly, for the foregoing reasons, the Motion for Summary
Judgment on Warnings Causation (Doc. 9300) is GRANTED IN PART and
DENIED IN PART. Plaintiff’s redhibition claim is DISMISSED WITH
PREJUDICE. Her other claims remain pending.


       New Orleans, Louisiana this 7th day of April, 2020.




                                              JANE TRICHE MILAZZO
                                              UNITED STATES DISTRICT JUDGE




19 Napoli v. Gully, 509 So. 2d 798, 799 (La. App. 1st Cir. 1987).
20 Id.
21 Doc. 7571.
22 E.g., In re Rezulin Prods. Liab. Litig., 361 F.Supp.2d 268, 280 (S.D.N.Y. 2005) (granting

defendant summary judgment in MDL case applying Louisiana law where plaintiffs could
not demonstrate a redhibitory defect in a prescription medication because the drug was
effective in treating the condition it was designed to treat).

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